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UNlTED STATES OF AN|ER|CA
P|aintiff

VS.
CR. NO. 04-20041-D

MlCHAEL SANDERS

Defendant.

 

ORDER ON CONT|NUANCE AND SPECIFYING PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause was set for a report date on Apri| 19, 2005. Counse| for the defendant
filed a l\/lotion to Continue Report on Apri| 18, 2005 in order to allow for additional
preparation in the case.

The Court granted the motion and reset the trial date to June 6, 2005 with a gm
date of Thursdav, Mav19. 2005l at 9:00 a.m., in Courtroom 3. 9th F|oor ofthe Federa|
Bui|ding, l\/|emphis, TN.

The period from lVlay 13, 2005 through June 17, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

,,¢-\
n is so oRoERED this // day of May, 2005.

RN|CE . DONALD
UN|TED STATES D|STR|CT JUDGE

This doot.ment entered on the docket sheet in compliance
with R.iie 55 and/or szrbi FHorP on ~ l `

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Notice of Distribution

This notice confirms a copy of the document docketed as number 60 in
ease 2:04-CR-20041 Was distributed by faX, mail, or direct printing on
May ]6, 2005 to the parties listed.

 

 

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Honorable Berniee Donald
US DISTRICT COURT

